          Case 4:19-cr-06063-SMJ              ECF No. 4   filed 10/22/19   PageID.11 Page 1 of 2




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   ZDUUDQW ZRXOGMHRSDUGL]HWKLVRQJRLQJFULPLQDOLQYHVWLJDWLRQWKUHDWHQLQJWKH
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     Matter of Sealed Affidavit(s) to Search Warrants, )G WK&LU  In
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